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11
                               UNITED STATES DISTRICT COURT
12
                           SOUTHERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,                 Case No. 18CR3677(1)-W
15                Plaintiff,                   MOTIONS TO (1) PRECLUDE
16          v.                                 EVIDENCE OR ARGUMENT
                                               CONCERNING ALLEGED POLITICAL
17   DUNCAN D. HUNTER,                         BIAS OR MOTIVES OF THE
                                               PROSECUTION TEAM AND
18                                             (2) ADMONISH THE DEFENSE TO
                  Defendant.
19                                             REFRAIN FROM MAKING PUBLIC
                                               STATEMENTS THAT MAY TAINT THE
20                                             JURY POOL
21
22        In a series of public statements that have been widely broadcast throughout this District,
23 defendant Duncan D. Hunter (“Hunter” or “the defendant”) has repeatedly insisted that his
24 prosecution is politically motivated. Rather than address this allegation to the Court, Hunter
25 has raised them in public events or statements to the press that are then broadcast to the pool
26 of jurors who will be called to serve at his upcoming criminal trial. Because these allegations
27 are irrelevant to the question of Hunter’s guilt and risk infecting the jury pool, the United
28 States respectfully moves to (1) preclude Hunter from offering evidence or argument

                                                   1
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 1 concerning alleged political biases or motives of the prosecution team and (2) admonish
 2 Hunter and the defense to refrain from making improper public statements that could poison
 3 the pool of potential jurors.
 4         The United States recognizes the defense has wide latitude in making public statements
 5 about this case, and the United States is not seeking any order prohibiting Hunter’s ability to
 6 proclaim his innocence, dispute the charges, or discuss matters of public record in the case.
 7 This motion simply seeks an admonishment that Hunter should refrain from making
 8 inappropriate statements about inadmissible matters that are designed to prejudice the ability
 9 to obtain a fair trial. See CivLR 83.7(d).
10
                                                   I.
11
                                     STATEMENT OF FACTS
12
           Hunter was indicted by a federal grand jury on August 21, 2018, and charged with
13
     converting funds belonging to his congressional campaign to his personal use. The indictment
14
     details scores of instances beginning in 2009 and continuing through 2016 in which Hunter
15
     and his wife and codefendant Margaret Hunter illegally used more than $250,000 in campaign
16
     funds to pay for personal expenses. These include family vacations to Italy, Hawaii, Arizona,
17
     and Idaho; private school tuition; family dental work; theater tickets; and domestic and
18
     international travel for almost a dozen relatives. The Hunters also spent tens of thousands of
19
     dollars on more mundane purchases, including fast food, movie tickets, golf outings, video
20
     games, coffee, groceries, home utilities, and expensive meals. To conceal the theft, the
21
     Hunters filed false or misleading reports with the Federal Election Commission describing the
22
     payments as legitimate campaign expenses.
23
           On August 21, 2018, the same day Hunter was indicted, his office issued a statement
24
     saying that he “believes this action is purely politically motivated.” Exhibit 1.1 Hunter’s
25
26
           Sarah D. Wire & Christine Mai-Duc, San Diego County Rep. Duncan Hunter and His
           1
27 Wife Are Indicted on Campaign Finance Violations, L.A. Times (Aug. 21, 2018),
28 https://www.latimes.com/politics/la-pol-ca-duncan-hunter-indict-20180821-story.html.

                                                   2
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 1 attorney, meanwhile, told the media that the indictment “reflects a loss of impartiality and
 2 appears to be an effort to derail Congressman Hunter’s reelection in the Nov. 6, 2018 election.”
 3 Id. The next day, Hunter released another, lengthier statement to the media, in which he
 4 complained that his indictment was the result of a “political agenda” stemming from “a culture
 5 operating within our Justice Department that is politically motivated.” Exhibit 2.2 Hunter
 6 continued by using the term “witch-hunt,” to suggest that he was indicted only in an effort to
 7 remove him from office. Id.
 8        On August 22, 2018, Hunter gave an on-air interview to local San Diego news. During
 9 the interview, he claimed, “[t]his is modern politics and modern media mixed in with law
10 enforcement that has a political agenda. That’s the new Department of Justice.” Exhibit 3.3
11 He added:
12        This is the Democrats’ arm of law enforcement, that’s what’s happening right
          now. … It’s happening with [President] Trump, it’s happening with me. … I think
13        they’ve used every dirty trick in the book. … They can try to have a political
14        agenda as our law enforcement, as a U.S. government…as we’ve seen with
          [former FBI agent Peter] Strzok, and with the FBI and DOJ have been doing. Let
15
          them expose themselves for what they are: a politically motivated group of folks.
16        … This is politics, unfortunately.
17 Id. Hunter accused the “deep state” Department of Justice of trying to rig the upcoming
18 election against him: “This is political—period. This is the U.S government—what I would
19 call the deep state—or folks in the U.S. government that don’t care what the election does,
20 they want to rig the election their own way, because they can’t beat me in a real election.”
21
22
23
          Allison Horn, Rep. Duncan Hunter Releases Statement on Indictment, ABC 10 News
          2
24
   San Diego (Aug. 22, 2018), https://www.10news.com/news/rep-duncan-hunter-releases-
25 statement-on-indictment.
26        3
           Jermaine Org, San Diego Congressman Duncan Hunter Addresses Federal Indictment
   in 10News Interview, ABC 10 News San Diego (Aug. 22, 2018),
27 https://www.10news.com/news/san-diego-congressman-duncan-hunter-addresses-federal-
28 indictment-in-10news-interview.

                                                   3
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 1 Exhibit 4.4 One week after the indictment was returned, Hunter gave another interview,
 2 insisting that the charges against Margaret were similarly biased: “It’s me they’re after
 3 anyway. They’re not after my wife; they want to take me down, that’s what they’re up to.”
 4 Exhibit 5.5
 5         Hunter has continued making these types of comments throughout the pendency of his
 6 case. On May 25, 2019, for example, speaking at a public event in Ramona, Hunter argued
 7 that the military and criminal justice systems are “abusive.” “It’s not about justice,” he
 8 continued. Exhibit 6.6 Instead, he suggested, military and civilian prosecutors were motivated
 9 by “[h]ow famous can they get up the ladder in the military, get that next promotion?” Id.
10 “And in the Department of Justice here, how famous can [they] get and can they run for
11 Congress next term if they have a big case?” Id.
12         Even as recently as June 13, 2019—less than three months before his trial begins—
13 Hunter issued a statement accusing the Department of Justice of going “after [Margaret
14 Hunter] to get to me for political reasons.” Exhibit 7.7 He reiterated his earlier accusation that
15 the “primary agenda” of the prosecutors in this case “was to inflict as much political damage
16 as possible in hopes of picking up a congressional seat.” Id. He also repeated inflammatory
17 accusations about specific prosecutors, alleging that the “local U.S. Attorneys” prosecuting
18         4
            Andrew Dyer & Kristina Davis, Rep. Duncan Hunter Says Democrats, ‘Deep State’
19 Behind Indictment, Says He’s Not Resigning, San Diego Union-Tribune (Aug. 22, 2018),
20 https://www.sandiegouniontribune.com/news/watchdog/sd-me-hunter-main-20180822-
   story.html.
21        5
            Allison Horn & Jonathan Horn, Congressman Duncan Hunter on Indictment: “Leave
22 My Wife Out of It,” ABC 10 News San Diego, https://www.10news.com/news/supporter-
23 group-gathers-for-speech-by-indicted-congressman-duncan-hunter.
           6
            Ken Stone, Rep. Hunter on War-Crimes Suspect Gallagher: I’m Guilty of Same ‘Bad
24
   Thing,’        Times        of        San        Diego       (May         25,       2019),
25 https://timesofsandiego.com/military/2019/05/25/rep-hunter-on-war-crimes-suspect-
   gallagher-im-guilty-of-same-bad-thing/.
26
          7
            Zac Self & Jonathan Horn, Wife of Rep. Hunter Pleads Guilty in Federal Case, ABC
27 10 News San Diego (June 13, 2019), https://www.10news.com/news/local-news/wife-of-rep-
28 duncan-hunter-to-change-plea-in-federal-case.

                                                    4
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1 this case “attended Hillary Clinton fundraisers in violation of the Hatch Act.” Id. He
2 concluded that his case “was politically-motivated at the beginning, it remains politically-
3 motivated now.” Id.
4          The United States has discussed these concerns with the defense and requested that
5 Hunter exercise caution and discretion before making allegations in the public arena that
6 would be improper if argued to the jury. In late May 2019, for example, the United States
7 cautioned the defense that Hunter’s constant and regular statements regarding a supposed
8 political motivation behind the indictment are bound to taint the jury pool, and asked him to
9 refrain from further inappropriate remarks. Hunter has ignored or refused these requests.
10
                                                   II.
11
                                            ARGUMENT
12
           A.     Evidence and Arguments Concerning Alleged Prosecutorial Bias Should Be
13
                  Prohibited at Trial8
14
           “The accused does not have an unfettered right to offer testimony that is incompetent,
15
     privileged, or otherwise inadmissible under standard rules of evidence.” Taylor v. Illinois,
16
     484 U.S. 400, 410 (1988). Legal arguments that may appropriately form the basis for pretrial
17
     motions directed to a court may be irrelevant to, and thus kept from, the jury that adjudicates
18
     a defendant’s factual guilt or innocence at trial. Such arguments include those based on the
19
     motive of the prosecutors who brought charges against a defendant. While such arguments
20
     appropriately may form the basis of a motion to dismiss, see Fed. R. Crim. P. 12(b)(3)(A)(iv),
21
     a defendant who fails to make (or prevail on) such a motion ahead of trial cannot then assert
22
     that claim before the jury.    Rather, “[c]ourts have consistently excluded evidence and
23
           8
24           A perfectly appropriate vehicle exists for Hunter to raise an argument that he is a
     victim of a politically-motivated prosecution: a pretrial motion to dismiss the indictment,
25   brought to this Court. See Rule 12(b)(3)(A)(iv); see also United States v. Napper, 553 F. Supp.
26   231, 232 (E.D.N.Y. 1982) (“If impermissible selective prosecution is demonstrated, the
     indictment itself is fatally defective regardless of any evidence proving guilt. A selective
27   prosecution claim is therefore a question of law properly determined only by the Court, and
28   may not be argued before the fact-finders.”).

                                                   5
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 1 argument by defendants seeking to attack the prosecution’s motives in initiating prosecution.”
 2 United States v. Cleveland, No. 96-cr-207, 1997 WL 253124, at *2 (E.D. La. May 14, 1997)
 3 (collecting cases).
 4         This is so because “[t]he question of discriminatory prosecution relates not to the guilt
 5 or innocence of [the defendant], but rather addresses itself to a constitutional defect in the
 6 institution of the prosecution,” and thus is a question of law. United States v. Abboud, 438
 7 F.3d 554, 579 (6th Cir. 2006) (citation omitted); accord United States v. Regan, 103 F.3d 1072,
 8 1082 (2d Cir. 1997) (“claim of selective prosecution” is “ultimately separate from the issue of
 9 [the defendant’s] factual guilt.”); United States v. Scrushy, 721 F.3d 1288, 1305 (11th Cir.
10 2013) (“Whether the decision to prosecute [the defendant] was motivated by improper reasons
11 has no bearing on the integrity of the trial or the verdict”); United States v. Washington, 705
12 F.2d 489, 495 (D.C. Cir. 1983) (“the issue of selective prosecution is one to be determined by
13 the court, as it relates to an issue of law entirely independent of the ultimate issue of whether
14 the defendant actually committed the crimes for which she was charged.” (citations omitted)).
15 As the Supreme Court has recognized, “[a] selective-prosecution claim is not a defense on the
16 merits to the criminal charge itself, but an independent assertion that the prosecutor has
17 brought the charge for reasons forbidden by the Constitution.” United States v. Armstrong,
18 517 U.S. 456, 463 (1996).
19         The United States’ reasons for initiating Hunter’s prosecution have no bearing on
20 whether the evidence at trial will prove the elements of the offenses with which he is charged.
21 Hunter must therefore be prohibited from arguing or suggesting, in opening statements,
22 through his questions to witnesses,9 and during closing arguments, that he has been singled
23
           Hunter is free to probe the credibility and reliability of cooperating witnesses’
           9

24 testimony during cross-examination. But he is not entitled to elicit testimony, even from
25 cooperating witnesses, of the prosecutors’ motives. See United States v. Stewart, No. 03 CR
   717(MGC), 2004 WL 113506, at *1 (S.D.N.Y. Jan. 26, 2004) (“[T]he defense wishes to elicit
26 from witnesses who are cooperating with the Government their understanding of the
27 Government’s eagerness to obtain evidence against Ms. Stewart. But any evidence that raises
   questions of prosecutorial bias against Stewart has no bearing on the issues properly before
28 the jury, including the credibility of cooperating witnesses. Therefore, such evidence is

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 1 out for prosecution due to the supposed political bias of the prosecutors or due to his political
 2 positions or party affiliation. See United States v. Johnson, 605 F.2d 1025, 1030 (7th Cir.
 3 1979) (no error in excluding argument that “the indictment was a political instrument,”
 4 because these would constitute “excursions into extraneous and collateral matters unrelated to
 5 the particular [charges]”); United States v. Lopez, 854 F. Supp. 57, 60 (D.P.R. 1994) (“The
 6 evidence alleged in defendant’s motion claiming selective prosecution, which involved
 7 various claims regarding defendant’s influence in the selection of the next U.S. Attorney for
 8 Puerto Rico, has no bearing whatsoever on whether the defendant committed the crimes
 9 alleged, and will not be allowed at trial.”); Napper, 553 F. Supp. at 232 (rejecting defense
10 request to argue that “prosecution was selectively brought as part of a concerted government
11 effort to suppress the activities of…a religious organization[.]”).
12         Argument or evidence directed toward prosecutorial motives also presents a grave
13 danger of unfair prejudice, as such information would constitute an “emotional” appeal
14 designed to confuse the issues for the jury. See Fed. R. Evid. 403 advisory comm.’s notes
15 (1975) (evidence is properly excludable under Rule 403 if it will “induc[e] decision on a purely
16 emotional basis”); Cleveland, 1997 WL 253124, at *3 (“evidence concerning the motivation
17 of the prosecution of any of the defendants is irrelevant to the issue of innocence or guilt
18 and…any probative value it has is substantially outweighed by its potential for unfair prejudice
19 and for misleading the jury.”). Such information would serve no purpose but to encourage
20 jury nullification. See United States v. Kleinman, 880 F.3d 1020, 1032 (9th Cir. 2017) (“a
21 court has the duty to forestall or prevent nullification” (alterations and quotation marks
22 omitted)); United States v. Sepulveda, 15 F.3d 1161, 1190 (1st Cir. 1993) (“A trial judge,
23 therefore, may block defense attorneys’ attempts to serenade a jury with the siren song of
24 nullification.”).
25
26
   inadmissible. The defendants are, of course, free to raise questions about the credibility and
27 reliability of cooperating witnesses. But defendants may not use their ability to impeach such
28 witnesses to introduce impermissible evidence of prosecutorial motive.”).

                                                   7
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           B.     This Court Should Admonish Hunter to Refrain From Public Allegations of
 1
                  Prosecutorial Bias that Poison the Jury Pool
 2
           “Legal trials are not like elections, to be won through the use of the meeting-hall, the
 3
     radio, and the newspaper.” Bridges v. California, 314 U.S. 252, 271 (1941). Jurors are called
 4
     upon to reach their conclusions only on the basis of evidence and argument heard in open
 5
     court, “and not by any outside influence, whether of private talk or public print.” Patterson v.
 6
     Colorado, 205 U.S. 454, 462 (1907). “Few, if any, interests under the Constitution are more
 7
     fundamental the right to a fair trial by ‘impartial’ jurors, and an outcome affected by
 8
     extrajudicial statements would violate that fundamental right.” Gentile v. State Bar of Nev.,
 9
     501 U.S. 1030, 1075 (1991).
10
           Courts thus have “an affirmative constitutional duty to minimize the effects of
11
     prejudicial pretrial publicity” so as “to insure that the fairness of a trial will not be jeopardized
12
     by the dissemination of such information throughout the community before the trial itself has
13
     even begun.” Gannett Co. v. DePasquale, 443 U.S. 368, 378–79 (1979); see also Cox v.
14
     Louisiana, 379 U.S. 559, 565 (1965) (court may “properly protect the judicial process from
15
     being misjudged in the minds of the public”); United States v. Brown, 218 F.3d 415, 423 (5th
16
     Cir. 2000) (noting “the potential that pretrial publicity may taint the jury venire, resulting in a
17
     jury that is biased toward one party or another”). Because a jury pool thus infected cannot be
18
     cured, the Court “cannot escape the task of fixing the limits within which a defendant may
19
     attempt to create publicity.” Levine v. U.S. Dist. Court for Cent. Dist. of Cal., 764 F.2d 590,
20
     596 (9th Cir. 1985); Gentile, 501 U.S. at 1075 (noting that with widespread media coverage
21
     of criminal trials, even extensive voir dire may not be able to filter out the negative effects of
22
     pretrial publicity).10 In fixing these limits, the Court should afford a defendant enough leeway
23
     to maintain publicly his innocence, but not so much that he may attempt to “influence public
24
     opinion regarding the merits of the case.” Brown, 218 F.3d at 418, 430 (upholding pretrial
25
26
            Properly-drawn limits do not offend the First Amendment, because “[i]n securing
           10
27 freedom of speech, the Constitution hardly meant to create the right to influence judges or
28 juries.” Pennekamp v. Florida, 328 U.S. 331, 366 (1946) (Frankfurter, J., concurring).

                                                      8
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 1 order prohibiting defendant “from discussing with any public communications media anything
 2 about the case ‘which could interfere with a fair trial,’ including statements ‘intended to
 3 influence public opinion regarding the merits of this case,’ with exceptions for matters of
 4 public record and matters such as assertions of innocence”). Indeed, the Local Rules of
 5 Practice for this District already prohibit attorneys “and their associates,” as officers of this
 6 court, from making statements that are “likely to prejudice the ability of either the government
 7 or the defendant to obtain a fair trial” CivLR 83.7(d).
 8         Since his indictment, Hunter has repeatedly used public platforms to describe his
 9 prosecution as a political witch-hunt by partisan prosecutors. Such remarks could poison the
10 pool of potential jurors before trial has begun. See Gannett Co., 443 U.S. at 378 (“it may be
11 difficult to measure with any degree of certainty the effects of such [pretrial] publicity on the
12 fairness of the trial.”). And “[e]ven if an impartial jury could be selected, intense prejudicial
13 publicity during and immediately before trial could allow the jury to be swayed by
14 extrajudicial influences.” Levine, 764 F.2d at 598. As a member of Congress representing
15 San Diego and Riverside Counties, Hunter’s voice reverberates loudly throughout the District,
16 and his prejudicial statements are especially likely to reach the ears of potential jurors. See In
17 re Dan Farr Prods., 874 F.3d 590, 594 (9th Cir. 2017) (considering, in reviewing a protective
18 order, the extent to which prejudicial speech “will preclude the seating of an impartial jury”
19 drawn from “registered voters in San Diego and Imperial Counties”). Hunter’s claims of
20 political persecution thus pose an especially strong threat to the integrity of the venire.
21         The United States is not seeking an order restricting Hunter’s public statements at this
22 time. Although the Court is well within its authority to issue such an order, see United States
23 v. Hill, 420 F. App’x 407, 413–14 (5th Cir. 2011) (unpublished) (affirming a contempt finding
24 in high-profile public corruption case after the defendant told reporters “that he was being
25 selectively prosecuted due to political and racial motivation” in violation of court order
26 designed “to protect the impartiality of the jury pool”), at this time the United States seeks
27 only for the Court to admonish Hunter of the consequences of his statements, and to reiterate
28 that he must take care to avoid improperly poisoning the jury pool.

                                                    9
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 1         Hunter may freely proclaim his innocence to the public. He may dispute the validity of
 2 the charges against him. He may insist that the jury will acquit after reviewing the evidence.
 3 He may discuss matters of public record in the case. But he may not use inadmissible,
 4 irrelevant, and inflammatory allegations to inject improper prejudice into the proceedings. See
 5 Brown, 218 F.3d at 429–30; see also United States v. Stone, Crim. No. 19-18 (ABJ), at *4
 6 (D.D.C. Feb. 15, 2019) (directing parties to refrain “from making statements to the media or
 7 to the public that pose a substantial likelihood of material prejudice to this case or are intended
 8 to influence any juror, [or] potential juror”); United States v. Manafort, Crim. No. 17-201
 9 (ABJ), at *2 (D.D.C. Nov. 8, 2017), ECF No. 38, (directing parties “to refrain from making
10 statements to the media or in public settings that pose a substantial likelihood of material
11 prejudice to this case”). Such statements are inconsistent with the Local Rules of this district,
12 which recognize and attempt to ameliorate the unfair prejudice that can result from improper
13 statements to the media. CivLR 83.7(d). As a public official, Hunter has a special obligation
14 to uphold rather than frustrate the integrity of the criminal justice system. Cf. Nebraska Press
15 Ass’n v. Stuart, 427 U.S. 539, 604 n.27 (1976) (Brennan, J., concurring in the judgment) (“As
16 officers of the court, court personnel and attorneys have a fiduciary responsibility not to
17 engage in public debate that will redound to the detriment of the accused or that will obstruct
18 the fair administration of justice.”). His public statements throughout the pendency of this
19 case demonstrate that he should be reminded of these obligations by the Court.
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      Case 3:18-cr-03677-W Document 51 Filed 06/24/19 PageID.422 Page 11 of 39




1                                             III.
2                                       CONCLUSION
3        For the reasons set forth above, this Court should preclude evidence or arguments
4 concerning alleged motives or biases of the prosecution team, and admonish Hunter to refrain
5 from making statements intended to poison the jury pool.
6        DATED: June 24, 2019
7
                                                     Respectfully submitted,
8
9                                                    DAVID D. LESHNER
                                                     Attorney for the United States
10
11                                                   s/ Bradley G. Silverman
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13                                                   PHILLIP L.B. HALPERN
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                                                                                                                               EXHIBIT

                                                                                                                           Ex. 1, Pg. 1
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         Rep. Duncan Hunter (R-Alpine) and his wife used $250,000 in campaign funds for personal use and filed false
         campaign finance reports, according to a 48-page federal indictment. (David Brooks / San Diego Union-Tribune)




         Rep. Duncan Hunter (R-Alpine) and his wife, Margaret, were indicted by a federal
         grand jury Tuesday on charges they used $250,000 in campaign funds for personal
         use and filed false campaign finance reports with the Federal Election Commission
         to mask their actions.

         The 48-page indictment details lavish spending from 2009 to 2016, including
         family vacations to Italy and Hawaii, home utilities, school tuition for their
         children, video games and even dental work. The San Diego Union-Tribune first
         identified the improper spending, triggering a federal investigation by the Justice
         Department.

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                                                                                                                            GOVERNMENT
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                                                                                                                           Ex. 1, Pg. 2
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https://www.latimes.com/politics/la-pol-ca-duncan-hunter-indict-20180821-story.html                                                        2/10
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         To conceal the personal expenditures, family dental bills were listed as a charitable
         contribution to “Smiles for Life,” the government alleges. Tickets for the family to
         see “Riverdance” at the San Diego Civic Theatre became “San Diego Civic Center for
         Republican Women Federated/Fundraising,” according to the indictment. Clothing
         purchases at a golf course were falsely reported as golf "balls for the wounded
         warriors." SeaWorld tickets worth more $250 were called an "educational tour.”

         “The indictment alleges that Congressman Hunter and his wife repeatedly dipped
         into campaign coffers as if they were personal bank accounts, and falsified FEC
         campaign finance reports to cover their tracks,” said U.S. Atty. Adam Braverman.
         “Elected representatives should jealously guard the public’s trust, not abuse their
         positions for personal gain. Today’s indictment is a reminder that no one is above
         the law.”




         Hunter's campaign released a statement Tuesday calling the indictment politically
         motivated and linked to his support for President Trump. It alleges that the federal
         attorneys involved in the indictment attended a “Hillary Clinton for President”    GOVERNMENT

         fundraiser on Aug. 27, 2015, and should have recused themselves.                     EXHIBIT

                                                                                                                                    Ex. 1, Pg. 3
                                                                                                                                        18CR3677-W


         “Congressman Hunter believes this action is purely politically motivated," said
         Mike Harrison, Hunter’s chief of staff. His campaign said Hunter has no plans to
https://www.latimes.com/politics/la-pol-ca-duncan-hunter-indict-20180821-story.html                                                          3/10
6/18/2019              San Diego County Rep.Document
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         drop out of his reelection race.

         But House Speaker Paul D. Ryan said Tuesday, “Now that he has been indicted,
         Rep. Hunter will be removed from his committee assignments, pending the
         resolution of this matter.” Hunter is chairman of the House Transportation and
         Infrastructure Committee’s Coast Guard and Maritime Transportation
         Subcommittee.

         Hunter's attorney Gregory Vega said that an indictment only three months before
         the election and almost two years since the investigation began “reflects a loss of
         impartiality and appears to be an effort to derail Congressman Hunter’s reelection
         in the Nov. 6, 2018 election.”


         Hunter has previously said he did not handle the campaign’s credit card and did
         not do anything improper. He attributed any violations to honest mistakes, and
         repaid several thousands of dollars to his campaign before the FBI investigation
         began.

         But the government alleges the Hunters often overdrew their bank accounts and
         charged up their credit cards to support a lifestyle they could not afford, and were
         repeatedly warned that using campaign funds for their personal spending was
         inappropriate.

         The Hunters are scheduled to be arraigned at 10:30 a.m. Thursday before U.S.
         Magistrate Judge William V. Gallo. The five charges are conspiracy to commit
         offenses against the United States, wire fraud, falsification of records, prohibited
         use of campaign contributions, and aiding and abetting.

         The allegations mean Hunter’s district, one of the most conservative in the state,
         could be more competitive than it has been in years, making Republicans’ effort to
         retain a House majority in the midterm election even tougher.




         While Hunter still stands a chance of winning — Trump won the district by 15
         percentage points — the prospect of an indictment was the main reason Democrats
         kept this race on their target list.                                            GOVERNMENT
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         His challenger, former Obama administration employee Ammar Campa-Najjar, has
         cast himself as a progressive Democrat who embraces single-payer healthcare and
         may be a poor fit for voters there.

         Hunter’s legal troubles could provide major ammunition to Campa-Najjar, who
         recently received an endorsement from former President Obama and hired veteran
         national strategist Joe Trippi. California election law does not provide a way for
         Republicans to replace Hunter with another GOP candidate and the only way to
         remove Hunter’s name from the ballot is by court order.

         "I was concerned all this time that Duncan Hunter was out for the special interests,
         but it turns out all along he cares only about his own self-interest, which is even
         worse," said Campa-Najjar, who said the indictment "makes it an even more
         flippable seat."

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         California Republican leaders urged voters to not rush to judgment.

         “In our country, individuals are presumed innocent until a jury of their peers
         convicts them,” California Republican Party chair Jim Brulte said. "The
         congressman and his wife have a constitutional promise to their day in court and
         we will not prejudge the outcome."

         It was more than $1,300 in video game purchases made by Hunter's campaign that
         first drew the attention of federal election officials and the San Diego Union-
         Tribune.                                                                        GOVERNMENT
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         At the time, Hunter blamed his son for the video game purchases, saying he had
         used the wrong credit card to sign up for a recurring purchase.

         Further reporting found more unusual spending by Hunter’s campaign, including a
         $250 airplane ride for the family rabbit and payments to nail salons, his children’s
         private school and a Phoenix resort.

         Hunter vowed to conduct an internal audit of campaign spending and reimbursed
         his campaign some $62,000 for spending on oral surgery, a family trip to Italy and
         Disneyland gift shop purchases.

         His wife, Margaret, handled his FEC reports and was paid as his campaign
         manager, although Hunter has avoided blaming her directly.

         "I was not involved in any criminal action," Hunter told Politico in March. "Maybe I
         wasn't attentive enough to my campaign. That's not a crime."

         The House Ethics Committee issued a report in March that Hunter “may have
         converted tens of thousands of dollars of campaign funds from his congressional
         campaign committee to personal use to pay for family travel, flights, utilities,
         healthcare, school uniforms and tuition, jewelry, groceries and other goods,
         services, and expenses.” The congressional committee said it was not pursing its
         own investigation to avoid interfering with the Justice Department.

         Defending himself against the nearly two-year investigation has largely drained
         Hunter’s campaign war chest. He and his wife sold the family home and moved in
         with his parents.

         The five-term congressman holds a seat his father, Rep. Duncan Hunter Sr., once
         held.




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       Rep. Duncan Hunter releases
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       Posted: 12:59 PM, Aug 22, 2018 Updated: 12:59 PM, Aug 22, 2018
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                                                                         PageID.430      Page 19 of 39
      SAN DIEGO (KGTV) - San Diego-area Congressman Duncan Hunter (R-CA)
      Wednesday released a statement regarding his indictment on charges including
      misuse of campaign funds.

      Rep. Hunter and his wife Margaret were indicted Tuesday for Conspiracy to
      Commit Offenses Against the United States, Falsification of Records, Prohibited
      Use of Campaign Contributions, and Aiding and Abetting.

      10News was the first to talk with Rep. Hunter Wednesday morning about the
      indictment, which he called 'politically motivated'.

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      RELATED: San Diego Congressman Duncan Hunter addresses
      federal indictment

        STATEMENT FROM CAMPAIGN OF CONGRESSMAN DUNCAN HUNTER

                I believe in our American system of justice, I support our system of
                justice. I cannot say the same, however, for those within our justice
                system that have a political agenda to harm those with whom they                         CLOSE


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                One of the pillars of our country since its founding is that those                 GOVERNMENT
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                tasked with enforcing the law would do so in an unbiased manner,
                allowing evidence to dictate how cases should run, with nothing
                impeding the rule of law. Unfortunately, this is not the case
                today. The fact is that there is a culture operating within our
                Justice Department that is politically motivated.


                We are seeing this with President Trump; we are seeing this with
                my case. This is evidenced by the fact that after two years of
                investigating, the Department of Justice decided to take this action
                right before my election. For over two years, I have made myself
                available to cooperate with this investigation in any manner. To
                date, I have not been asked one time to answer any questions or
                address any issue. I have not had one opportunity to present my
                side of anything in this investigation or to counter any allegations
                against me.


                All the while, there has been a constant barrage of misinformation
                and salacious headlines in our media regarding this matter. I
                purposely choose to remain silent, not to feed into this witch-hunt
                and trust the process.


                I have focused on one thing; doing the job with which I was elected
                to do. I have worked to represent my constituents, voting on policy
                issues that I believe would benefit our nation and opposing those
                that would do us harm. I have helped those having problems with
                federal agencies and advocating for those who have fallen through
                the cracks of bureaucracy. This is what I will continue to do, these
                efforts will not stop, and I am not going anywhere.
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                The actions of the Justice Department speak for themselves. It is a
                sad state of affairs when those entrusted with upholding the law                   GOVERNMENT
                have no appreciation for following the rule of law. Consider this;                   EXHIBIT

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                 overwhelming evidence indicated that Hillary Clinton took direct
                 action to circumvent investigations into her campaign, she was
                 interviewed and no action was taken. After two years of
                 investigation into my campaign, I have never been interviewed and
                 they made a decision to prosecute.


                 Additionally, three prosecutors, two of which are directly involved
                 this case, attended a fundraising event at a private home in La
                 Jolla in 2015, one of which was the individual who signed the
                 indictment. We know these individuals attended this event from
                 9:00-12:00 noon during working hours. We are told that this was
                 at the request of Secret Service to officially assist law enforcement
                 with protection, but this explanation is disputed by former U.S.
                 Attorneys familiar with the responsibilities of their office. The
                 obvious question is why would the Secret Service need three
                 prosecutors at a fundraising event? The answer is they are
                 partisan prosecutors.


                 My constituents are not easily misled. I know they can recognize a
                 political agenda when they see it and they can disregard empty
                 rhetoric when they hear it. I fought for our nation against
                 terrorists in the Marine Corps. I fight for my constituents in the
                 halls of Congress. I will fight this in the same manner and with the
                 same level of determination because I believe in what I am fighting
                 for and still have faith that evidence and the rule of law will trump
                 political agendas and bias.

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      indicted for campaign fund misuse                                                                                                           CLOSE

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     By: Jermaine Ong

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     SAN DIEGO (KGTV) - Rep. Duncan Hunter (R-CA) told 10News that he’s
     innocent of accusations of campaign funding misuse one day after he and his
     wife Margaret were indicted by a federal grand jury.

     Prior to a Wednesday morning fishing trip for the military veterans group
     Rivers of Recovery, Hunter -- with his father by his side -- spoke to 10News
     reporter Mimi Elkalla about the indictment and what he calls the “new
     Department of Justice.”

     “We’re excited about going to trial with this, frankly,” Hunter said of the
     indictment. “This is modern politics and modern media mixed in with law
     enforcement that has a political agenda. That’s the new Department of Justice.”

     RELATED: Congressman Duncan Hunter and wife indicted for
     campaign fund misuse

     The Republican congressman added, “This is the Democrats’ arm of law
     enforcement, that’s what’s happening right now. It’s happening with
     [President] Trump, it’s happening with me. We’re going to fight through it and
     win and the people get to vote in November … I think they’ve used every dirty
     trick in the book, so it’ll go to court when they want it to.”

     Hunter, who embarked on the fishing trip despite a Thursday court date, told
     10News that he was not concerned with the indictment.

     “I’m not worried. I’m looking forward to it. They can try to have a political                                             CLOSE


     agenda as our law enforcement, as a U.S.    government … as we’ve seen with
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     [former FBI agent Peter] Strzok, and with the FBI and DOJ have been doing.
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     Let them expose themselves for what they are: a politically motivated group of
     folks.”
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     In the indictments, Hunter and his wife are accused of wire fraud, falsifying
     campaign records and spending about $250,000 of campaign funds on family
     vacations and other flights, dental bills, school tuition, groceries and to fly the
     family’s rabbit cross-country.

     When asked about the accusations levied against his wife, Hunter confirmed
     that she was in charge of campaign expenses but added, “That’ll come out in
     court. That’s for the court and for her.”

     RELATED: Report: Rep. Duncan Hunter womanized, boozed and
     misused funds

     Hunter reiterated that the indictment won’t keep him from doing his job.

     “I’m here for you. I’m the congressman. I’m still the representative. We’re not
     leaving, we’re not backing away. We would like for the government to present
     its facts. It’s wrong. This is politics, unfortunately,” he told 10News.

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    WATCHDOG



   Rep. Duncan Hunter says Democrats, ‘deep state’ behind indictment,
   says he’s not resigning




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   By ANDREW DYER, KRISTINA DAVIS

   AUG. 22, 2018
   7:17 PM


   Republican Congressman Duncan Hunter of Alpine forcefully responded Wednesday to a 60-count indictment filed this week in
   federal court in San Diego.


   In a 15-minute back and forth with reporters, Hunter invoked a “deep state” conspiracy among “partisan Democrat prosecutors” as
   the reason why he and his wife, Margaret Hunter, were facing charges of conspiracy to commit wire fraud, falsification of records
   and aiding and abetting in the prohibited use of campaign contributions.
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   Tuesday’s indictment listed 200 instances in which the Hunters allegedly made personal purchases using campaign funds,
   including family vacations, meals and everyday household expenses. The $250,000 of improper expenses alleged by prosecutors —
   from tequila to Taco Bell to “Punky Brewster items” at Target — have become fodder for a steady diet of national news stories.


   But Hunter, 41, told reporters in San Diego on Wednesday, “I’ve never used my campaign for personal expenditures — ever.”


   Reporters asked about items listed in the indictment going back to 2009, his first year in Congress.


   “It’s the U.S. government trying to make you look bad,” he said. “They can make it look however they want to make it look, we all
   know this.”


   Then Hunter said again, “I never used campaign funds for personal purchases — ever.”


   Hunter said every purchase listed in the 47-page indictment was campaign-related.


   “They took legitimate campaign expenses and just tossed them all in and said these are all illegal,” he said.


   Two of the items prosecutors cited — Pittsburgh Steelers games in 2010 and 2013 — amounted to $4,129 in alleged campaign
   spending on personal activities. Prosecutors identified one of the games as a family outing and the other as a birthday gift for a
   family member.


   Hunter said both games were, in fact, campaign activities.


   “They were massive campaign events,” he said. “(We were) raising money off doing them. That’s what we do.”


   Hunter also denied overdrawing his personal bank account, which prosecutors said happened more than 1,100 times in a seven-
   year period, costing the Hunters more than $37,000 in overdraft fees.


   Hunter did say he might have not had his eyes on his accounts as much as he should have.


   “I was in the Marine Corps, I did three tours,” he said. “When I joined the Marines, I gave power of attorney to my wife, ’cause I was
   gone all the time. I didn’t have a lot of visibility on my personal finances. When I go into Congress...I kept it going the same way.


   “I didn’t have as much visibility on my personal finances as I should have,” Hunter said. “There’s nothing illegal about being poor. I
   don’t think there’s anything illegal about not having money in your bank account.”


   Hunter is paid $174,000 a year as a member of Congress, and his campaign paid his wife $3,000 a month as campaign manager.
   The indictment alleges the couple used campaign funds for European vacations, groceries, school lunches, trips to Lake Tahoe and
   other expenses. Spending campaign contributions for personal benefit is prohibited by federal law to protect against undue
   influence by donors.


   Prosecutors also allege that the Hunters concealed the true purpose of many expenses. For instance, the campaign paid to fly
   Margaret Hunter’s mother to Poland, the indictment says, reporting it on federal disclosure forms as “campaign trips to New
   Orleans and Kentucky.”                                                                                                          GOVERNMENT
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   Duncan Hunter’s impromptu news conference took place at the Point Loma Sportfishing Landing, where Hunter said his campaign
   sponsored a fishing trip for wounded warriors in conjunction with Rivers of Recovery, a 501(c)3 that provides a variety of
   rehabilitation treatments for veterans.


   Asked about specific expenses over and over, Hunter would answer by discussing the U.S. Department of Justice. He said
   politically-motivated Democrats timed the indictment in order to affect November’s election.


   “This has to do with them being political,” he said. “This isn’t about my personal bank account… I paid the money back two years
   ago, before the election.”


   Hunter has been under scrutiny since April 2016, when the Federal Election Commission and then The San Diego Union-Tribune
   began raising questions about video games, private school tuition and other unusual expenses from his campaign accounts. In
   response, Hunter reviewed the matter and repaid more than $60,000 of expenditures he identified as mistaken, personal or
   insufficiently documented. He sold his home in Alpine and moved in with his father and predecessor in Congress, Duncan L.
   Hunter.


   That should have been the end of it, he said.


   “This is political — period,” Hunter said. “This is the U.S government — what I would call the deep state — or folks in the U.S.
   government that don’t care what the election does, they want to rig the election their own way, because they can’t beat me in a real
   election.”


   Hunter is facing a challenge from Democrat Ammar Campa-Najjar on the November ballot. In a strongly Republican district, the
   race would normally be a walk for Hunter. The indictment may make it more competitive.


   Hunter’s comments echo those of President Donald Trump, who is facing his own problems with the Justice Department. Like
   Trump, Hunter called his prosecution a “witch hunt” in a campaign statement.


   The congressman pushed back on the suggestion he should resign.


   “I’m not resigning,” Hunter said. “I’m not gonna resign with a bunch of leftist government thugs throwing allegations at me...This
   means nothing — the indictment is all they have. They only have what you’ve now seen. That’s it. I’ve done nothing wrong and I say
   bring the trial now.”


   Hunter said two U.S. attorneys who worked on his case — Alana Robinson and Emily Allen — attended a Hillary Clinton fundraiser
   in 2015, and thus have a conflict of interest in his case.


   Hunter’s attorney, Greg Vega, sent a letter to Deputy Attorney General Rod Rosenstein on Aug. 6 , saying that Robinson and Allen’s
   involvement should have led to a recusal of the San Diego U.S. Attorney’s office, and asking to come to Washington, D.C. to present
   his case — something that might have delayed the indictments beyond the Nov. 6 election. Rosenstein declined.


   “The United States Attorney’s Office for the Southern District of California and the Department of Justice in Washington, D.C.
   reviewed and rejected Mr. Hunter’s complaints,” said Kelly Thornton, a spokeswoman for the U.S. Attorney, in an emailed
   statement. “The Secret Service requested the prosecutors’ attendance and routinely asks prosecutors to attend events involving
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   their protectees.”                                                                                                                     EXHIBIT

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   Thornton declined to elaborate when asked follow-up questions about why federal prosecutors would be asked to attend events by
   the Secret Service.


   The Secret Service on Wednesday declined to discuss the matter or provide any general policies or procedures regarding why
   prosecutors’ presence might be requested at such events.


   “The U.S. Secret Service is aware of the situation but we cannot comment due to the potential for litigation,” a spokesman said in an
   email.


   Both Robinson and Allen are registered to vote as Democrats, according to 2017 San Diego County voter registration data.


   Data was not available for 2015, when the Clinton fundraiser occurred, but the following year as the campaign peaked, the Secret
   Service handled more than 2,700 campaign stops for the three presidential candidates and their spouses and two vice presidential
   candidates and their spouses, according to the agency’s annual report. A handful were in San Diego County.


   Former U.S. Attorney Chuck LaBella, now in private practice, said there is no reason to believe the U.S. Attorney’s Office isn’t being
   truthful about the situation, but added that the notion of the Secret Service requesting the presence of federal prosecutors “seems
   odd.”


   LaBella said he never came across such requests in his 24 years in the U.S. Attorney’s Office – in Manhattan, Washington, D.C., and
   San Diego – and said he can’t think of a reason why a protection detail would want prosecutors there. LaBella said transparency
   would help quell suspicion and answer questions.


   “If they are saying they were there for official business, why not just tell the public that they were there for a particular reason?”
   LaBella said.


   David Carr, a San Diego attorney specializing in attorney ethics, said he also did not see a logical reason for the Secret Service’s
   request. Even so, he said nothing points to a violation of state rules that govern attorney behavior.


   “As a matter of individual prosecutorial conscience, you might say ‘I’m such a partisan Democrat that I can’t be objective when it
   comes to prosecuting Duncan Hunter,’ and that would create a conflict,” Carr said. “But there’s no evidence because someone
   merely was at a fundraiser that they are such partisan Democrat and that they are prosecuting Duncan Hunter for improper
   purpose.”


   The Hunters will be arraigned in federal court Thursday.




                                                    Duncan Hunter Videos


   DUNCAN HUNTER VIDEOS




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6/18/2019                          Congressman Duncan
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     NEWS                                                                                                


     Congressman Duncan Hunter
     on indictment: "Leave my
     wife out of it"
     Posted: 11:09 AM, Aug 28, 2018 Updated: 8:11 PM, Aug 28, 2018
     By: Allison Horn , Jonathan Horn

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6/18/2019                          Congressman Duncan
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     SAN DIEGO (KGTV) - San Diego County Congressman Duncan Hunter spoke
     Tuesday morning to a group of women who support him despite accusations
     that he and his wife misused campaign funds.

     “Women Volunteers in Politics” gathered for the speech at the Bali Hai
     restaurant on Shelter Island. The event was booked months before Rep.
     Hunter’s indictment.

     Hunter spoke to 10News before the event.

     “Leave my wife out of it, leave my family out of it. It’s me they’re after anyway.
     They’re not after my wife; they want to take me down, that’s what they’re up to.
     So let’s get this in the arena and have this settled,” said Hunter.

     Tuesday's statement was a change from Hunter's message the morning after the
     indictment was announced. When asked about the accusations levied against
     his wife, Hunter confirmed that she was in charge of campaign expenses but
     added, “That’ll come out in court. That’s for the court and for her.”

     DUNCAN HUNTER INDICTMENT:

             Extramarital infidelity, excessive drinking discussed in letter
             Hunters arraigned: 5 fast facts to know
             Hunter, wife Margaret plead not guilty to federal charges
             READ: Federal charges against Hunters
             PHOTOS: Alleged instances of campaign fund misuse in Hunter affidavit
             Report: Rep. Duncan Hunter womanized, boozed and misused funds

     Hunter and his wife Margaret pleaded not guilty to dozens of charges last week
     in federal court. The couple is accused of spending about $250,000 in
                                                                                                              GOVERNMENT
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                                                                                                             Ex. 5, Pg. 2
https://www.10news.com/news/supporter-group-gathers-for-speech-by-indicted-congressman-duncan-hunter            18CR3677-W 2/6
6/18/2019                          Congressman Duncan
              Case 3:18-cr-03677-W Document           Hunter on
                                                51 Filed        indictment: "Leave
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     campaign funds on vacations and personal items while falsifying spending
     reports.

     10News heard from supporters who said they would stand by his side because
     he is innocent until proven guilty.

     “That's what's unfair about this, it's almost like they are guilty before he's even
     had a chance to go to trial and defend himself, and that's what's unfair this is
     when we're back in the caveman days,” said Margie Morrison.

     Hunter said he would speak to the women's group about the “Republican Party,
     Donald Trump, Congress, plans for the future. What we’re going to do, how
     we’re going to win and make America great again.”

     Despite the indictment, a 10News Union-Tribune poll shows 47 percent of the
     50th District constituents would still vote for Hunter over his opponent,
     Ammar Campa-Najjar.

     10News asked Hunter whether he would have a good chance of holding his
     congressional seat during the trial.

     “I think so, but it’ll be up to the people. They’ve had almost a decade of my
     service. I’m the most prolific legislator in the county,” Hunter said.

     In an opinion article written for USA Today , Hunter claimed the indictment
     was politically motivated.

     "My constituents can recognize a political agenda when they see it, and they can
     disregard empty rhetoric when they hear it. I am looking forward to taking this
     to court,” Hunter wrote.

     Hunter was ordered to turn over his weapons during last week’s court
     appearance but did not answer 10News reporter Jon Horn when he questioned
     him about it.
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      Rep. Hunter on War-Crimes Suspect
      Gallagher: I’m Guilty of Same ‘Bad Thing’
      POSTED BY KEN STONE ON MAY 25, 2019 IN MILITARY | 6562 VIEWS | 11 COMMENTS | LEAVE A COMMENT



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       Rep. Duncan D. Hunter, 42, shakes hands with his father, former Rep. Duncan L. Hunter, 70, at start of
       Ramona forum. Photo by Ken Stone




      By Ken Stone                                                                                                            SPONSORED CONTENT



      Rep. Duncan D. Hunter told a Ramona audience Saturday that he’s guilty of the same
      behavior that led to Navy SEAL Chief Eddie Gallagher being charged with war crimes —
      posing with a dead combatant.

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                                                  “Eddie did one bad thing that I’m guilty of too — taking
             with a small monthly contribution    a picture of the body and saying something stupid,”
                                                  Hunter said at a border-issues forum with his father,
               Become a supporter
                                                  former Rep. Duncan L. Hunter.                                               Classic Retro Photos Unseen Until
                                                                                                                              Now 
      The younger Hunter, a Marine veteran of Iraq and Afghanistan, said he’s taken pictures                                                                      GOVERNMENT
                                                                                                                              By History Daily
      “just like that when I was overseas” — although he didn’t text or post images to social                                                                       EXHIBIT
      media. “But a lot of my peers … have done the exact same thing.”
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https://timesofsandiego.com/military/2019/05/25/rep-hunter-on-war-crimes-suspect-gallagher-im-guilty-of-same-bad-thing/                                                               1/9
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                                                           Would you convict Donald
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                                                           justice? Take the poll.
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      Hunter said the trial of Special Warfare Operator Chief Edward “Eddie” Gallagher was set
      for Tuesday. But actually it begins June 10 at Naval Base San Diego, where he faces
      murder charges in the slaying of a wounded teenage ISIS prisoner in Iraq in 2017.

      Gallagher allegedly texted a fellow SEAL: “Good story behind this, got him with my
      hunting knife.”

            Listen: Rep. Duncan D. Hunter on the court-martial of Navy SEAL Chief Eddie
            Gallagher
            Listen: Border-security remarks by Rep. Duncan D. Hunter and father Duncan.
            L. Hunter

      Hunter said the 17-year-old fighter survived a bombing that killed 40-50 terrorists but
      was shot inside the leg and denied care by Iraqi army captors. He contends Gallagher
      tried to save the boy — as documented by helmet cam video Hunter says he’s seen and
      shown to fellow Congress members (but not released publicly).

      But the East County Republican didn’t mention testimony by Gallagher’s fellow
      commandos from SEAL Team 7’s Alpha Platoon. Gallagher also is accused of fatally
      shooting a school-age girl and an elderly man from a sniper’s roost and “indiscriminately
      spraying neighborhoods with rockets and machine-gun fire,” as The New York Times
      put it.


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      Hunter made the remarks after his 14-term father left the Ramona Mainstage venue
                                                                                                                     Crime Making a Comeback in
      early at the American Liberty Forum of Ramona to call in to a radio show. The                                  California 490 views
      Gallagher comments came in response to a question from event moderator Dan                                     Former Secretary of State
      Summers.                                                                                                       Warns UCSD Graduates Not to
                                                                                                                     Let Cultural Pride Become Hate
                                                                                                             480 views
      “Totally different subject but very important, especially right here in San Diego,”
                                                                                                                     Opinion: Point Loma Risks
      Summers said on a stage with a Declaration of Independence backdrop and images of                              Losing More History Amid
      Ben Franklin and Thomas Jefferson. “With Memorial Day coming on Monday, what would                             Development Pressure 450
      it mean to you for President Trump to pardon Navy SEAL Chief Eddie Gallagher? What                     views

      should we know about this case, and why is it so important?”

      Hunter: “You want me to go through the whole thing?”

      Summers: “From the beginning to the end.”

      Story continues below


                             Washington, DC: This Tiny, Unknown Company Is
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      An image of Benjamin Franklin was a      Ramona forum. Photo by Ken Stone         Rep. Duncan D. Hunter repeated his
      backdrop to Rep. Duncan D. Hunter                                                 call for the U.S. military to build
      at Ramona event. Photo by Ken                                                     roads next to the border for better
      Stone                                                                             fencing security. Photo by Ken Stone




      Audience members listen to border-       Rep. Duncan D. Hunter details his        An image of Benjamin Franklin was a
      security forum featuring comments        stands on border security at site of a   backdrop to Rep. Duncan D. Hunter
      by Rep. Duncan D. Hunter and his         rowdy March 2017 town hall. Photo        at Ramona event. Photo by Ken
      congressman father. Photo by Ken         by Ken Stone                             Stone
      Stone




      A porcelain eagle rested on table                                                 La-Faye Zeigler of Ramona listens to
      between the Hunters in Ramona.           Rep. Duncan D. Hunter told Ramona        Rep. Duncan D. Hunter explain why
      Photo by Ken Stone                       audience that 30% of children found      Interstate 5 checkpoint is closed —
                                               crossing the border are “rent-a-kids”    because of deployment of agents to
                                               used by smugglers. Photo by Ken          the border. Photo by Ken Stone
                                               Stone




                                                                                        Rep. Duncan L. Hunter, smiling at his
      Former Rep. Duncan L. Hunter tells       Former Rep. Duncan L. Hunter said
                                                                                        father, would bid farewell to him
      audience that “massive casualties”       of Democrats: “You couldn’t drag
                                                                                        later with: “Hey, you’re a great
      attended the San Diego border area       these people to vote for defense with
                                                                                        American.” Photo by Ken Stone
      before his efforts to build a border     a team of horses.” Photo by Ken
      fence with old military gear. Photo by   Stone
      Ken Stone




                                                                                        Rep. Duncan D. Hunter exits stage
      Dan Summers of American Liberty
                                               Coke cup in hand, Rep. Duncan D.         right after one-hour appearance at
      Forum of Ramona (formerly Ramona
                                               Hunter shakes hands with audience        Ramona Mainstage. Photo by Ken
      TEA’d) notes that Saturday’s monthly
                                               member after his Ramona Mainstage        Stone
      meeting was the group’s 107th.
                                               remarks. Photo by Ken Stone
      Photo by Ken Stone



      In the course of a 10-minute recitation, Hunter said he “absolutely” would love to see
      President Trump issue Gallagher a pardon, which some reports say could come on or
      before Memorial Day.

      But Hunter also said he wanted the court-martial to go forward so the American people
      can “see how disgusting the military justice system is when it’s run by lawyers and
      bureaucrats [who] go after the war-fighter.”




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      Hunter said such a trial would embarrass the Navy and “maybe give an example of how
      they can change the system.”

      Alluding to his own federal criminal case, where he’s charged with using campaign funds
      for personal spending and travel, Hunter said he would argue that “our regular justice
      system is just as abusive as the military justice system. It’s not about justice.”

      He said it’s about: How many wins can they get?

      “How famous can they get up the ladder in the military, get that next promotion?”
      Hunter told an audience of 150. “And in the Department of Justice here, how famous can
      [they] get and can they run for Congress next term if they have a big case?”

                            ___




      Hunter also commented on how Gallagher’s Navy prosecutors sent tracking software
      on email to defense attorneys to learn about possible leaks to Navy Times editor Carl
      Prine, a former military reporter at The San Diego Union-Tribune.

      The 50th District congressman called the software “embedded malware, spyware” and
      declared: “Isn’t that crazy? That’s nuts. … It’s not fair when the prosecution cheats.”



                 Duncan D. Hunter Admits Photographing Dead Combatant




      He warned the mostly older audience: “If any of you get in trouble for anything, the last
      20 years of your text messages are available to be used against you in a court of law.                              GOVERNMENT
      That’s how it works. They’re surveilling your emails, your text messages.                                             EXHIBIT

                                                                                                                          Ex. 6, Pg. 4
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      “They can now use that against you. They use it in the military. They use it in normal
      justice system, and they love it. So be careful what you text.”

      Updated at 3:25 p.m. May 28, 2019


      REP. HUNTER ON WAR-CRIMES SUSPECT GALLAGHER: I’M GUILTY OF SAME ‘BAD THING’ was last modified: May 28th, 2019 by
      Ken Stone



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      NEWS  LOCAL NEWS                                                                                


      Wife of Rep. Duncan Hunter
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      Posted: 1:49 PM, Jun 12, 2019 Updated: 11:22 PM, Jun 13, 2019
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6/18/2019                              Wife of Rep.
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      SAN DIEGO (KGTV) -- Margaret Hunter, the wife of Rep. Duncan Hunter,
      changed her plea to guilty to one count of conspiracy in a plea deal with the
      federal government over misused campaign funds Thursday.

      As part of a plea deal with prosecutors, Margaret Hunter will testify against her
      husband in his upcoming trial in September.

      The congressman and his wife both pleaded not guilty in 2018 to federal
      charges of using $250,000 in campaign funds for personal use and falsifying
      campaign finance reports.

      "Defendant agrees to plead guilty to Count One of the Indictment charging her
      with conspiring with co-defendant Duncan D. Hunter to knowingly and
      willfully convert Duncan D. Hunter for Congress Campaign Committee funds to
      personal use by using them to fulfill personal commitments, obligations and
      expenses would have existed irrespective of Hunter's election campaign and
      duties as a federal officeholder, in amounts of $25,000 and more in a calendar
      year," the plea deal states.

      Those expenses include a $14,000 family vacation to Italy and a $650 Easter
      brunch at the Hotel del Coronado.

      READ THE PLEA AGREEMENT HERE

      Through her attorney, Margaret Hunter apologized for her actions through her
      attorney outside Federal Court on Thursday.

      "I understand that there will be more consequences stemming from my actions,CLOSE
      but as demonstrated this morning with  the entry of the plea, I have taken the
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      first step in facing those consequences," said Tom McNamara, her attorney, in a
                                                                                                       GOVERNMENT
      prepared statement.                                                                                EXHIBIT

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      According to an affidavit, Hunter allegedly spent the money on expenses like
      vacations, dental work, tuition, movie tickets, video games and home utilities,
      among other things.

      The affidavit goes on to allege that the Hunters lied about the purchases in FEC
      filings, claiming the money was used for things like dinner with volunteers or
      campaign contributors, toy drives and teacher/parent events.

      Rep. Duncan Hunter issued a statement which reads:

      "I do not have the full details of Margaret’s case, but it's obvious that the
      Department of Justice (DOJ) went after her to get to me for political reasons.
      As Margaret’s case concludes, she should be left alone. I am the Congressman,
      this is my campaign and any further attention on this issue should be directed
      solely to me. The DOJ’s prosecutorial actions in this case were led by local U.S.
      Attorneys who attended Hillary Clinton fundraisers in violation of the Hatch
      Act. The fact remains that this entire matter should have been handled by the
      Federal Elections Commission (FEC). The DOJ purposely choosing to involve
      itself in the area where the FEC has primary jurisdiction reveals that their
      primary agenda was to inflict as much political damage as possible in hopes of
      picking up a congressional seat. It was politically-motivated at the beginning, it
      remains politically-motivated now."

      A trial date was set for September 10, 2019, but that is expected to change
      following this morning’s court appearance.

      A conviction would not force Hunter out of office. It takes a two-thirds house
      vote to do that, meaning 55 Republicans would have to move the same.

      San Diego Political Analyst John Dadian said he believes Hunter would be
      expelled if convicted. He added President Trump could pardon him, but it                                CLOSE


      would likely be after the 2020 election.  Meanwhile, he said East County
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      Republicans are preparing to file to run if they see an opening.
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      Margaret Hunter is set to be sentenced Sept. 16.                                               Ex. 7, Pg. 3
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